              Case 1:22-cv-10266-LTS Document 1 Filed 12/05/22 Page 1 of 9




                            U NITED S TATES D ISTRICT C OURT
                          S OUTHERN D ISTRICT OF N EW Y ORK

Christopher D craft Sr


                                                                             New case
                                                                      _____CV_______________
Write the full name of each plaintiff.
                                                                     (Include case number if one has been
                                                                     assigned)

                           -against-
                                                                           COMPLAINT
New York State supreme court judge.
                                                                         Do you want a jury trial?
Christi L Dalessio.                                                          ✔ Yes
                                                                             ☐        ☐ No




Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section II.




                                               NOTICE
   The public can access electronic court files. For privacy and security reasons, papers filed
   with the court should therefore not contain: an individual’s full social security number or full
   birth date; the full name of a person known to be a minor; or a complete financial account
   number. A filing may include only: the last four digits of a social security number; the year of
   an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
   See Federal Rule of Civil Procedure 5.2.




Rev. 1/9/17
              Case 1:22-cv-10266-LTS Document 1 Filed 12/05/22 Page 2 of 9




I.    BASIS FOR JURISDICTION
Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.
What is the basis for federal-court jurisdiction in your case?

     ☐ Federal Question
     ✔




     ☐ Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?
Conspiracy. Accepting and creating the use of illegal documents.
Excessive use of power.
Prosecutorial misconduct.
Defamation of rights under color of law.

 B. If you checked Diversity of Citizenship

         1. Citizenship of the parties

 Of what State is each party a citizen?

 The plaintiff ,                                                      , is a citizen of the State of
                    (Plaintiff’s name)



 (State in which the person resides and intends to remain.)

 or, if not lawfully admitted for permanent residence in the United States, a citizen or
 subject of the foreign state of

                                                                  .
 If more than one plaintiff is named in the complaint, attach additional pages providing
 information for each additional plaintiff.



                                                                                                  Page 2
          Case 1:22-cv-10266-LTS Document 1 Filed 12/05/22 Page 3 of 9




 If the defendant is an individual:

 The defendant, Christi L D'alessio, Dutchess county supreme Court
                                                              , is a citizen of the State of
                (Defendant’s name)

Dutchess county New York
 or, if not lawfully admitted for permanent residence in the United States, a citizen or
 subject of the foreign state of

                                                                   .
 If the defendant is a corporation:

 The defendant,                                              , is incorporated under the laws of

 the State of

 and has its principal place of business in the State of

 or is incorporated under the laws of (foreign state)

 and has its principal place of business in                                                        .

 If more than one defendant is named in the complaint, attach additional pages providing
 information for each additional defendant.

II. PARTIES

A. Plaintiff Information
Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.
Jeremy craft, C/O, ChristopherD                          Craft
First Name                      Middle Initial           Last Name

#C, 5901
Street Address
Rt 9 Rhinbeck                                    New York                       12572
County, City                                     State                          Zip Code
845-554-9203                                     hilliamcroft@gmail.com
Telephone Number                                 Email Address (if available)



                                                                                            Page 3
          Case 1:22-cv-10266-LTS Document 1 Filed 12/05/22 Page 4 of 9




B. Defendant Information
To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1:       New York state supreme court.
                  First Name                   Last Name
                  New York State unified court system
                   Current Job Title (or other identifying information)
                  10 Market st
                  Current Work Address (or other address where defendant may be served)
                  Dutchess/Poughkeepsie               New York             12601
                  County, City                       State                Zip Code

Defendant 2:       Christi L                       Dalessio
                  First Name                      Last Name
                  Judge
                   Current Job Title (or other identifying information)
                  10 Market st
                  Current Work Address (or other address where defendant may be served)
                  Dutchess/Poughkeepsie               New York             12601
                  County, City                           State               Zip Code

Defendant 3:
                  First Name                      Last Name


                  Current Job Title (or other identifying information)


                  Current Work Address (or other address where defendant may be served)


                  County, City                           State               Zip Code




                                                                                          Page 4
          Case 1:22-cv-10266-LTS Document 1 Filed 12/05/22 Page 5 of 9




Defendant 4:
                  First Name                     Last Name


                  Current Job Title (or other identifying information)


                  Current Work Address (or other address where defendant may be served)


                  County, City                          State             Zip Code

III. STATEMENT OF CLAIM
Place(s) of occurrence: New York state supreme court 10 Market Street Poughkeepsie New York 12601


Date(s) of occurrence:   June 21st 2022
FACTS:
State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.
On or about June 21st 2022, Dutchess county supreme Court Judge Christie L
D'alessio did knowingly willingly intentionally and illegally commit the above-mentioned
violations of my constitutional rights.
Upon information and belief, judge D'alessio used my previous arrest record, along with
a pending, and alleged misdemeanor criminal accusation document against me and a
falsified search warrant application and an order of protection application partially
typed, and partially handwritten by Trooper Brian mcgee from the New York state
Rhinebeck NY troopers barracks.
Judge Christie L d'alessio then held a hearing against me for an order of protection and
in that hearing judge Christy delasio refused me due process of the law by denying me
cross examination of Troopers statements that were submitted to the court as well as
denying me access to view body cam footage .
Judge D'alessio then found me guilty on the application for the order of protection.
Because of Judge dalasio's unethical immoral and illegal order of protection against
me it is violating my above mention constitutional rights as well as human rights
because I am an avid outdoorsman.
I hunt I fish and I trap to provide for myself and my family.
Because of Judge Christie L D'alessio illegal protection order against me I am not
allowed to possess own or purchase a "GUN/TOOL" for one year under that illegal order.




                                                                                          Page 5
          Case 1:22-cv-10266-LTS Document 1 Filed 12/05/22 Page 6 of 9




INJURIES:
If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

PTSD.
Physical pain being forcibly restrained while automatic assault rifles with sound
silencers at the end of the barrel pointed in my face.
I am suffering from mental emotional monetary physical damage due to the blatant
disregards for my constitutional and human rights by Dutchess county supreme Court
and judge Christine d'alessio.




IV. RELIEF
State briefly what money damages or other relief you want the court to order.

I am seeking criminal charges against New York state supreme court, and judge Christi
L D'alessio.
I am seeking $ 10 million dollars for the violation of my constitutional, and human
rights.
I am also seeking $5 million dollars in punitive damages.




                                                                                            Page 6
           Case 1:22-cv-10266-LTS Document 1 Filed 12/05/22 Page 7 of 9




V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.


Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

12-5-2022
Dated                                                   Plaintiff’s Signature
Christopher                     D                       Craft
First Name                     Middle Initial           Last Name
#C. 5901 Rt 9.
Street Address
Dutchess/Rhinbeck                                New York                       12572
County, City                                    State                           Zip Code
845-554-9203                                            hilliamcroft@gmail.com
Telephone Number                                        Email Address (if available)




I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
 ✔ Yes
 ☐       ☐ No

     If you do consent to receive documents electronically, submit the completed form with your
     complaint. If you do not consent, please do not attach the form.




                                                                                               Page 7
              Case 1:22-cv-10266-LTS Document 1 Filed 12/05/22 Page 8 of 9


                     United States District Court
                     Southern District of New York



    Pro Se (Nonprisoner) Consent to Receive Documents Electronically
Parties who are not represented by an attorney and are not currently incarcerated may
choose to receive documents in their cases electronically (by e-mail) instead of by regular
mail. Receiving documents by regular mail is still an option, but if you would rather receive
them only electronically, you must do the following:

     1. Sign up for a PACER login and password by contacting PACER 1 at
        www.pacer.uscourts.gov or 1-800-676-6856;
     2. Complete and sign this form.

If you consent to receive documents electronically, you will receive a Notice of Electronic
Filing by e-mail each time a document is filed in your case. After receiving the notice, you
are permitted one “free look” at the document by clicking on the hyperlinked document
number in the e-mail. 2 Once you click the hyperlink and access the document, you may not
be able to access the document for free again. After 15 days, the hyperlink will no longer
provide free access. Any time that the hyperlink is accessed after the first “free look” or the
15 days, you will be asked for a PACER login and may be charged to view the document. For
this reason, you should print or save the document during the “free look” to avoid future
charges.
                                           IMPORTANT NOTICE
Under Rule 5 of the Federal Rules of Civil Procedure, Local Civil Rule 5.2, and the Court’s
Electronic Case Filing Rules & Instructions, documents may be served by electronic means.
If you register for electronic service:

         1. You will no longer receive documents in the mail;
         2. If you do not view and download your documents during your “free look” and
            within 15 days of when the court sends the e-mail notice, you will be charged for
            looking at the documents;
         3. This service does not allow you to electronically file your documents;
         4. It will be your duty to regularly review the docket sheet of the case. 3

1Public Access to Court Electronic Records (PACER) (www.pacer.uscourts.gov) is an electronic public access service that
allows users to obtain case and docket information from federal appellate, district, and bankruptcy courts, and the PACER
Case Locator over the internet.
2You must review the Court’s actual order, decree, or judgment and not rely on the description in the email notice alone.
See ECF Rule 4.3
3The docket sheet is the official record of all filings in a case. You can view the docket sheet, including images of
electronically filed documents, using PACER or you can use one of the public access computers available in the Clerk’s
Office at the Court.
                                     500 PEARL STREET | NEW YORK, NY 10007
                                 300 QUARROPAS STREET | WHITE PLAINS, NY 10601
                                          PRO SE INTAKE UNIT: 212-805-0175
rev. 2/9/15
              Case 1:22-cv-10266-LTS Document 1 Filed 12/05/22 Page 9 of 9




                                CONSENT TO ELECTRONIC SERVICE
I hereby consent to receive electronic service of notices and documents in my case(s) listed below. I
affirm that:

       1. I have regular access to my e-mail account and to the internet and will check regularly for
          Notices of Electronic Filing;
       2. I have established a PACER account;
       3. I understand that electronic service is service under Rule 5 of the Federal Rules of Civil
          Procedure and Rule 5.2 of the Local Civil Rules, and that I will no longer receive paper
          copies of case filings, including motions, decisions, orders, and other documents;
       4. I will promptly notify the Court if there is any change in my personal data, such as name,
          address, or e-mail address, or if I wish to cancel this consent to electronic service;
       5. I understand that I must regularly review the docket sheet of my case so that I do not miss a
          filing; and
       6. I understand that this consent applies only to the cases listed below and that if I file
          additional cases in which I would like to receive electronic service of notices of documents, I
          must file consent forms for those cases.

Civil case(s) filed in the Southern District of New York:
       Note: This consent will apply to all cases that you have filed in this court, so please list all of
       your pending and terminated cases. For each case, include the case name and docket number
       (for example, John Doe v. New City, 10-CV-01234).
        Christopher craft versus, New York State troopers Rhinebeck New York/ New case
        Christopher craft versus, Dutchess county supreme Court, and judge Christi delasio., / New case



Jeremy craft care of Christopher D Craft.
Name (Last, First, MI)

#C 5901 Rt 9 Rhinebeck                                   New York                    12572
Address                         City                     State                      Zip Code

845-554-9203                                             hilliamcroft@gmail.com
Telephone Number                                         E-mail Address

12-5-2022
Date                                                     Signature

Return completed form to:
Pro Se Intake Unit (Room 200)
500 Pearl Street
New York, NY 10007
